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5    Attorney for Defendant
     PABLO CASTRO MARRON
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8                                         UNITED STATES DISTRICT COURT
9                                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        No. 2:95-CR-0235-WBS
12                           Plaintiff,               STIPULATION AND ORDER TO CONTINUE
                                                      BRIEFING SCHEDULE RE: MOTION TO
13             v.                                     REDUCE SENTENCE PURSUANT TO 18
                                                      U.S.C. § 3582(c)(2)
14   PABLO CASTRO MARRON,
                                                      RETROACTIVE DRUGS-MINUS-TWO
15                           Defendant.               REDUCTION CASE
16                                                    Hon. William B. Shubb
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               Defendant, PABLO CASTRO MARRON, by and through his attorney, John Balazs, and
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     plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
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     Jason Hitt, hereby stipulate to extend the briefing schedule regarding defendant’s amended
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     motion to reduce sentence under 18 U.S.C. § 3582(c)(2) by three weeks as follows:
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22             Defendant’s Amended § 3582(c)(2) Motion Due:       November 1, 2017

23             Government’s Response Due:                         November 22, 2017
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               Defendant’s Reply Due:                             November 29, 2017
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     Stipulation and Order                             1
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1              The reason for this request is that Marron’s counsel has ordered and is awaiting
2    production of the sentencing reporter’s transcript.

3
4    Dated: October 10, 2017                        Dated: October 10, 2017

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6    PHILLIP TALBERT
     United States Attorney
7
8     /s/ Jason Hitt                                 /s/John Balazs
     JASON HITT                                     JOHN BALAZS
9    Assistant U.S. Attorney

10   Attorney for Plaintiff                         Attorney for Defendant
     UNITED STATES OF AMERICA                       PABLO CASTRO MARRON
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14                                                 ORDER

15             IT IS SO ORDERED.

16   Dated: October 10, 2017

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     Stipulation and Order                              2
